                                                                             U.S. BANKRUPTCY COURT
                                                                               DISTRICT OF OREGON
                                                                                   FILED
                                                                                  October 4, 2023

                                                                            Clerk, U.S. Bankruptcy Court

Below is an order of the Court.



                                                                             U.S. Bankruptcy Judge


ODCGT (11/24/03) jth            UNITED STATES BANKRUPTCY COURT
                                         District of Oregon

In re                                                         )
 David Richard McAuliffe                                      ) Case No. 23−61412−tmr13
Debtor(s)                                                     )
                                                              )
                                                              ) ORDER DENYING
                                                              ) CONFIRMATION AND
                                                              ) GRANTING ADDITIONAL
                                                              ) TIME TO FILE DOCUMENTS
                                                              )


IT IS ORDERED that confirmation of the debtor's plan dated 8/10/23 is denied for the following reason(s):

    Debtor(s) wants to file an amended plan.




IT IS FURTHER ORDERED the debtor(s) take the following action:

    File an amended plan (using Local Form 1355.05) by 10/31/23. [NOTE: If an adjourned hearing
    was not set by the court, you must obtain a hearing date and time pursuant to pt. 2 of Local
    Form 1355.05.]




IT IS FURTHER ORDERED that if the debtor(s) fails to comply with the above requirements, or fails to file
a motion to convert this case to a case under Chapter 7 by the time specified in the above paragraph, this
case may be dismissed without further notice or hearing.

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                          Case 23-61412-tmr13       Doc 18-1     Filed 10/04/23
